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IN THE UNITED sTATEs DISTRICT COURT FoR THE WESTERN
DISTRICT oF TENNESSEE, WESTERN DIVISION AT MEMPHHBS AUG 29 FH h= 03
LUCILLE PITTMAN, by and

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through her Next Friend and Attorney_in_]:act,
VIOLA P. SYKES,

 

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v. No. 04-3003-DP §`¢_;Z;U§ ;_,, .<
JURY DEMANDE jj =_, C=’ §§
MoHAMAD J. AKBIK, M.D.; E._§”' § \
MOHAMAD J. AKBIK, M.D., P.C.; §;;_4§ ¢. o
GREGORY EUGENE vANDEvEN, M.D.; “ '.'.. ';:
SARAH GRlFFIN, R.N.; .4 <=
KAREN FRANKLIN, L.P.N.;
KATHY WESSELS, R.N.; and
DMc-MEMPHIS, INC. d/b/a DELTA MEDICAL cENTER,
Defendants.
MOTION To AMEND THE RULE 16(b) SCHEDULING oRDER
COMES NOW the plaintiff, LUCILLE PITTMAN (hereinaiter referred to as
“Plaintiff”), by and through her Next Friend and Power of Attorney, VIOLA P. SYKES,
pursuant to FED. R. CIV. P. 16, and moves this Court to amend the Rule 16(b) Scheduling
Order to include the following deadlines:
COMPLETING ALL WRITTEN DISCOVERY;
(a) DoCUMENT PRoDUcTIoN: January 15, 2006 MOT|ON GRANT§D
' - 03
(b) INTERROGAToRlES AND REQUESTS FOR A
ADMISSION: January 15, 2006 ‘ ’“* ‘ » "‘
BERNlcE soule noNALn
(6) DEPOSITIONS; January 15, 2006 "'3' °'sTR'°T"uDGE
(d)

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EXPERT WITNESS DISCLOSURE (Rule 26):

 
 
 
 

this document entered on the dockets

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(1) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT
INFORMATION: November 15, 2005

(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT ,
INFORMATION: January 15, 2006

(3) EXPERT WITNESS DEPOSITIONS:
Plaintiff’s Expert(s) - December 15, 2005
Defendants’ Expert(s) ~» February 15, 2006

(4) PLAINTIFF’S SUPPLEMENTAL EXPERT DISCLOSUR_ES:
March 15, 2006

Plaintiff relies on the Memorandum of Law filed in Support of said Plaintiff’s
Motion to Amend the Rule 16(b) Scheduling Order and Certificate of Consultation Which

reflects that there is no objection to the motion by counsel for the defendants herein.

Respectfully submitted:

THE COCHRAN FIRM - MEMPHIS
One Cornmerce Square, Suite 2600
Memphis, Tennessee 38103

(901) 523.1222- telephone

(901) 523 1999- facsimile

   
        

   
    
      

  

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Notice of Distribution

This notice confirms a copy of the document docketed as number 53 in
case 2:04-CV-03003 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

